     Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 1 of 15 PageID #:1




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

James Bruno, individually and on behalf of all                      1:22-cv-02937
others similarly situated,
                                  Plaintiff,

                    - against -                                Class Action Complaint

American Textile Company, Incorporated,
                                                                Jury Trial Demanded
                                  Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to Plaintiff,

which are based on personal knowledge:


       1.      American Textile Company, Incorporated (“Defendant”) manufactures, markets,

labels and sells sheet sets represented as having a thread count of 1250 under the Sealy brand

(“Product”).
      Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 2 of 15 PageID #:2




I.    HIGHER THREAD COUNTS ASSOCIATED WITH HIGHER QUALITY

       2.     Thread count is used by consumers purchasing bedding as an indicator of fabric

quality, with higher thread counts able to provide greater comfort, durability, and longevity relative

to lower thread counts.

       3.     Consumers rely on the represented thread count as a gauge of product quality.1

       4.     Surveys confirm that consumers are willing to, and do pay, more for higher thread

count sheets than lower thread count sheets.

       5.     For instance, a single-ply 300-count costs $55 a set, while a 600 thread-count sheets

are $180 a set.

       6.     One informal survey of the prices of cotton king-size sheet sets at online retailers in

2016 confirmed that as thread count increased, so did the prices.

II.   THREAD COUNT CALCULATIONS

       7.     The common or standard practice in the United States bedding industry has been to

count the number of threads in both the warp (vertical direction) and filling (horizontal direction).

       8.     Common or standard practice counts each yarn as one thread, regardless of whether

the yarn was a single-ply or multi-ply yarn.

       9.     The American Society for Testing and Materials’ (“ASTM”) is a global standards

organization that develops technical standards for a wide range of industries.

       10.    ASTM Standard 3775 covers the standard test method for measuring warp end count

and filling pick count and is applicable to all types of woven fabric.2




1
  ABC News, Are Shoppers Short-Sheeted by Thread Count?, Jan. 2006 (noting that customers
“rely” on thread count as an important factor while shopping).
2
  Standard Test Method for Warp (End) Count and Filling (Pick) Count of Woven Fabrics; see also
ASTM Designation: D3775-12.


                                                  2
         Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 3 of 15 PageID #:3




              11.   This Standard uses several industry-specific terms, defined below:3

    count                  n ̶ in woven textiles, the number of warp yarns (ends) and filling yarns
                           (picks) per unit distance as counted while the fabric is held under zero
                           tension, and is free of folds and wrinkles.
    end                    n ̶ in fabric, an individual warp yarn (single or ply) or cord.
    filling                n ̶ yarn running from selvage to selvage at right angles to the warp in a
                           woven fabric.
    pick                   n ̶ an individual filling yarn.
    pick count             n ̶ in woven fabrics, the number of filling yarns per unit fabric length.

              12.   The method for determining thread count requires “Count[ing] individual warp ends

and filling picks as single units regardless of whether they are comprised of single or plied

components.”4

              13.   When two yarns “are laid-in together and parallel,” each yarn is required to be

counted separately, “as a single unit, regardless of whether it is comprised of single or plied

components.”5

              14.   However, not all manufacturers and sellers of sheets use this industry standard

method for calculating thread counts.

              15.   The National Textiles Association (“NTA”) and the Federal Trade Commission

(“FTC”) recognized that counting plies in plied yarns individually inflates the thread count several

times above what it would be if the traditional, industry standard method were used.

              16.   The FTC stated that a result of this practice is that consumers are unable to accurately

compare products, because their “thread counts that may have been calculated in two dramatically

different ways.” FTC Letter to National Textile Association, August 2, 2005.

              17.   The FTC stated that “[C]onsumers could be deceived or misled by the practice of

stating an inflated thread count, achieved by multiplying the actual count by the number of plies


3
  ASTM D 123-03, Standard Terminology Relating to Textiles.
4
  ASTM Designation: D3775-12 at 9.1.1.
5
  ASTM Designation: D3775-12 at 9.1.2.


                                                        3
      Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 4 of 15 PageID #:4




within the yarn.”

        18.   The FTC provided an example of a non-deceptive way to inform consumers of the

thread count and the yarn ply, such as “300 thread count, 2 ply yarn,” instead of “600 thread count,”

which “would likely mislead consumers about the quality of the product being purchased.”

        19.   Deviation from industry standards has also drawn criticism from the American

Textile Manufacturer’s Institute (“ATMI”).

        20.   Writing to the FTC, ATMI described how “extremely high [thread] counts are

achieved by counting yarns within a ply as individual yarns, thus dramatically increasing the

number of yarns in a square inch of fabric. ATMI Letter to FTC, January 31, 2002.

        21.   By “labeling products based on counting each individual yarn in plies,” consumers’

purchasing decisions are “based on false and misleading information.”

        22.   In its reply to ATMI, the FTC agreed that it would review thread count claims which

counted yarns within a ply as individual yarns in light of the significant weight afforded to the

ASTM standards. FTC Letter to ATMI, March 18, 2002.

        23.   The FTC concluded by noting that material claims about a product must be

supported by a “reasonable basis,” and was skeptical that counting individual yarns within a ply

to arrive at a total thread count met this criteria.

III. THREAD COUNT FOR PRODUCT IS FALSE AND MISLEADING

        24.   The representation that the Product’s thread count is 1250 is false and misleading.

        25.   Laboratory analysis of Plaintiff’s Product, pursuant to ASTM D 3775, shows it has

57 warp yarns and 166 weft yarns per inch, for a total thread count of 223. Exhibit “A.”




                                                       4
      Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 5 of 15 PageID #:5




       26.       However, the 19 individual filaments in each warp yarn were counted as separate

yarns, which is scientifically wrong based on the definition of fiber and yarn structures.

       27.       Defendant calculated 1250 for the thread count by multiplying the number of warp

yarns, 57, by the filaments in each warp yarn, 19, to reach 1083, and added 166 weft yarns, for a

total of 1249.

       28.       By counting the plied yarns individually, the Product’s thread count is inflated by

several times over what it would be if industry standard methods were used.

       29.       The result was that the Product was of lower quality, softness, comfort, durability,

and longevity than they otherwise would if they were the represented thread count and quality as

stated on the labeling.

IV.   CONCLUSION

       30.       Defendant makes other representations and omissions with respect to the Product

which are false and misleading.

       31.       Reasonable consumers must and do rely on a company to honestly and lawfully

market and describe the components, attributes, and features of a product, relative to itself and


                                                   5
      Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 6 of 15 PageID #:6




other comparable products or alternatives.

        32.     The value of the Product that Plaintiff purchased was materially less than its value

as represented by Defendant.

        33.     Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

        34.     Had Plaintiff known the truth, he would not have bought the Product or would have

paid less for it.

        35.     As a result of the false and misleading representations, the Product is sold at a

premium price, approximately no less than no less than $54.99 for the king or queen size sheet set,

excluding tax and sales, higher than similar products, represented in a non-misleading way, and

higher than it would be sold for absent the misleading representations and omissions.

                                             Jurisdiction and Venue

        36.     Jurisdiction is pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28 U.S.C.

§ 1332(d)(2).

        37.     The aggregate amount in controversy exceeds $5 million, including any statutory

damages, exclusive of interest and costs.

        38.     The Product has been sold at thousands of locations in the states covered by the

classes Plaintiff seeks to represent, with the representations challenged here, for many years.

        39.     Plaintiff James Bruno is a citizen of Illinois.

        40.     Defendant American Textile Company, Incorporated is a Pennsylvania corporation

with a principal place of business in Duquesne, Allegheny County, Pennsylvania.

        41.     The class of persons Plaintiff seeks to represent includes persons who are citizens of

different states from which Defendant is a citizen.




                                                    6
      Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 7 of 15 PageID #:7




       42.    The members of the class Plaintiff seeks to represent are more than 100, because the

Product has been sold with the representations described here for several years, in thousands of

locations, in the states covered by Plaintiff’s proposed classes.

       43.    The Product is available to consumers from third-parties, which includes department

stores, home furnishing stores, warehouse club stores, big box stores, and/or online.

       44.    Venue is in the Eastern Division in this District because a substantial part of the

events or omissions giving rise to these claims occurred in Lake County, including Plaintiff’s

purchase, consumption, transactions and/or use of the Product and awareness and/or experiences

of and with the issues described here.

                                               Parties

       45.    Plaintiff James Bruno is a citizen of Mundelein, Lake County, Illinois.

       46.    Defendant American Textile Company, Incorporated is a Pennsylvania corporation

with a principal place of business in Duquesne, Pennsylvania, Allegheny County.

       47.    Defendant’s registered agent in its incorporation state is Corporation Service

Company 2595 Interstate Dr Ste 103 Harrisburg PA 17110-9378.

       48.    Defendant is one of the largest textile manufacturers in the United States.

       49.    Defendant manufacturers bedding products for dozens of brands, including Sealy.

       50.    Sealy is known worldwide for its premium mattresses.

       51.    Consumers seeing Sealy sheets will expect similarly high levels of quality based on

Sealy’s reputation.

       52.    Plaintiff purchased the Product at locations including Walmart, walmart.com,

between May 1, 2022 and May 31, 2022, among other times.

       53.    Plaintiff used the Product and suspected that the thread count was not as represented




                                                  7
      Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 8 of 15 PageID #:8




based on the attributes of the Product including softness and comfort.

       54.    Plaintiff believed and expected the thread count promised on the label was the thread

count of the Product, and that this number was based on an industry standard calculation, instead

of through methods which result in inflated thread counts because that is what the representations

and omissions said and implied, on the front label and the absence of any reference or statement

elsewhere on the Product.

       55.    Plaintiff relied on the words, terms coloring, descriptions, layout, placement,

packaging, hang tags, and/or images on the Product, on the labeling, statements, omissions, claims,

statements, and instructions, made by Defendant or at its directions, in digital, print and/or social

media, which accompanied the Product and separately, through in-store, digital, audio, and print

marketing.

       56.    Plaintiff bought the Product at or exceeding the above-referenced price.

       57.    Plaintiff did not receive a product which had qualities of one with a thread count of

1250, because the Product lacked softness, comfort, and other qualities which it would have had

if the thread count were based on industry standard calculations.

       58.    Plaintiff would not have purchased the Product if he knew the representations and

omissions were false and misleading or would have paid less for it.

       59.    Plaintiff chose between Defendant’s Product and products represented similarly, but

which did not misrepresent their attributes, requirements, instructions, features, and/or

components.

       60.    The Product was worth less than what Plaintiff paid and he would not have paid as

much absent Defendant's false and misleading statements and omissions.

       61.    Plaintiff intends to, seeks to, and will purchase the Product again when he can do so




                                                 8
      Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 9 of 15 PageID #:9




with the assurance the Product's representations are consistent with its abilities, attributes, and/or

composition.

       62.     Plaintiff is unable to rely on the labeling and representations not only of this Product,

but other similar high thread count bedding products, because he is unsure whether those

representations are truthful.

                                           Class Allegations

       63.     Plaintiff seeks certification under Fed. R. Civ. P. 23 of the following classes:

                        Illinois Class: All persons in the State of Illinois who
                        purchased the Product during the statutes of
                        limitations for each cause of action alleged; and

                        Consumer Fraud Multi-State Class: All persons in
                        the States of Montana, Kansas, Maine, Wyoming,
                        Idaho, Kentucky, West Virginia, Kansas, Iowa,
                        Mississippi, and Utah who purchased the Product
                        during the statutes of limitations for each cause of
                        action alleged.

       64.     Common questions of issues, law, and fact predominate and include whether

Defendant’s representations were and are misleading and if Plaintiff and class members are entitled

to damages.

       65.     Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair, misleading, and deceptive representations, omissions, and actions.

       66.     Plaintiff is an adequate representative because his interests do not conflict with other

members.

       67.     No individual inquiry is necessary since the focus is only on Defendant’s practices

and the class is definable and ascertainable.

       68.     Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.



                                                   9
    Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 10 of 15 PageID #:10




       69.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       70.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                  Illinois Consumer Fraud and Deceptive Business Practices Act
                                (“ICFA”), 815 ILCS 505/1, et seq.

                                  (Consumer Protection Statute)

       71.    Plaintiff incorporates by reference all preceding paragraphs.

       72.    Plaintiff believed the thread count promised on the label was the thread count of the

Product, and that this number was based on an industry standard calculation, instead of through

methods which result in inflated thread counts.

       73.    Defendant’s false, misleading and deceptive representations and omissions are

material in that they are likely to influence consumer purchasing decisions.

       74.    Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       75.    Plaintiff relied on the representations and omissions to believe the thread count

promised on the label was the thread count of the Product, and that this number was based on an

industry standard calculation, instead of through methods which result in inflated thread counts.

       76.    Plaintiff would not have purchased the Product or paid as much if the true facts had

been known, suffering damages.

                              Violation of State Consumer Fraud Acts

                      (On Behalf of the Consumer Fraud Multi-State Class)


       77.    The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class are

similar to the consumer protection statute invoked by Plaintiff and prohibit the use of unfair or




                                                  10
    Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 11 of 15 PageID #:11




deceptive business practices in the conduct of commerce.

       78.    The members of the Consumer Fraud Multi-State Class reserve their rights to assert

their consumer protection claims under the Consumer Fraud Acts of the States they represent

and/or the consumer protection statute invoked by Plaintiff.

       79.    Defendant intended that members of the Consumer Fraud Multi-State Class would

rely upon its deceptive conduct.

       80.    As a result of Defendant’s use of artifice, and unfair or deceptive acts or business

practices, the members of the Consumer Fraud Multi-State Class sustained damages.

       81.    Defendant’s conduct showed motive and a reckless disregard of the truth such that

an award of punitive damages is appropriate.

                                    Breaches of Express Warranty,
                  Implied Warranty of Merchantability/Fitness for a Particular Purpose
                    and Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       82.    The Product was manufactured, identified, marketed and sold by Defendant and

expressly and impliedly warranted to Plaintiff that the thread count promised on the label was the

thread count of the Product, and that this number was based on an industry standard calculation,

instead of through methods which result in inflated thread counts.

       83.    Defendant directly marketed the Product to Plaintiff through its advertisements and

marketing, through various forms of media, on the packaging, in print circulars, direct mail,

product descriptions distributed to resellers, and targeted digital advertising.

       84.    Defendant knew the product attributes that potential customers like Plaintiff were

seeking and developed its marketing and labeling to directly meet those needs and desires.

       85.    Defendant’s representations about the Product were conveyed in writing and

promised it would be defect-free, and Plaintiff understood this meant that the thread count




                                                 11
    Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 12 of 15 PageID #:12




promised on the label was the thread count of the Product, and that this number was based on an

industry standard calculation, instead of through methods which result in inflated thread counts.

       86.   Defendant’s representations affirmed and promised that the thread count promised

on the label was the thread count of the Product, and that this number was based on an industry

standard calculation, instead of through methods which result in inflated thread counts.

       87.   Defendant described the Product so Plaintiff believed the thread count promised on

the label was the thread count of the Product, and that this number was based on an industry

standard calculation, instead of through methods which result in inflated thread counts, which

became part of the basis of the bargain that it would conform to its affirmations and promises.

       88.   Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       89.   This duty is based on its outsized role in the market for this type of Product, selling

under a trusted brand in the area of bedding and sleep products.

       90.   Plaintiff recently became aware of Defendant’s breach of the Product’s warranties.

       91.   Plaintiff provided or will provide notice to Defendant, its agents, representatives,

retailers, and their employees.

       92.   Plaintiff hereby provides notice to Defendant that it breached the express and implied

warranties associated with the Product.

       93.   Defendant received notice and should have been aware of these issues due to

complaints by third-parties, including regulators, competitors, and consumers, to its main offices,

and by consumers through online forums.

       94.   The Product did not conform to its affirmations of fact and promises due to

Defendant’s actions.




                                                12
    Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 13 of 15 PageID #:13




       95.   The Product was not merchantable because it was not fit to pass in the trade as

advertised, not fit for the ordinary purpose for which it was intended and did not conform to the

promises or affirmations of fact made on the packaging, container or label, because it was marketed

as if the thread count promised on the label was the thread count of the Product, and that this

number was based on an industry standard calculation, instead of through methods which result in

inflated thread counts.

       96.   The Product was not merchantable because Defendant had reason to know the

particular purpose for which the Product was bought by Plaintiff, because he expected the thread

count promised on the label was the thread count of the Product, and that this number was based

on an industry standard calculation, instead of through methods which result in inflated thread

counts, and he relied on Defendant’s skill and judgment to select or furnish such a suitable product,

based on qualities and attributes such as comfort and softness.

       97.   Plaintiff would not have purchased the Product or paid as much if the true facts had

been known, suffering damages.

                                       Negligent Misrepresentation

       98.   Defendant had a duty to truthfully represent the Product, which it breached.

       99.   This duty was non-delegable, based on Defendant’s position, holding itself out as

having special knowledge and experience in this area, a trusted brand in the area of bedding and

sleep products.

       100. Defendant’s representations and omissions regarding the Product went beyond the

specific representations on the packaging, as they incorporated the extra-labeling promises and

commitments to quality, transparency and putting customers first, that it has been known for.

       101. These promises were outside of the standard representations that other companies




                                                 13
    Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 14 of 15 PageID #:14




may make in a standard arms-length, retail context.

       102. The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in Defendant.

       103. Plaintiff reasonably and justifiably relied on these negligent misrepresentations and

omissions, which served to induce and did induce, their purchase of the Product.

       104. Plaintiff would not have purchased the Product or paid as much if the true facts had

been known, suffering damages.

                                              Fraud

       105. Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that the thread count promised on the label was the thread count of the Product, and that this

number was based on an industry standard calculation, instead of through methods which result in

inflated thread counts.

       106. Moreover, the records Defendant is required to maintain, and/or the information

inconspicuously disclosed to consumers, provided it with actual and constructive knowledge of

the falsity and deception, through statements and omissions.

       107. Defendant knew of the issues described here yet did not address them.

       108. Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations.

                                        Unjust Enrichment

       109. Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.




                                                14
    Case: 1:22-cv-02937 Document #: 1 Filed: 06/06/22 Page 15 of 15 PageID #:15




                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing Defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;

   4. Awarding monetary damages, statutory and/or punitive damages pursuant to any statutory

       claims and interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for Plaintiff's attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: June 4, 2022
                                                       Respectfully submitted,

                                                       /s/Spencer Sheehan
                                                       Sheehan & Associates, P.C.
                                                       Spencer Sheehan
                                                       60 Cuttermill Rd Ste 412
                                                       Great Neck NY 11021
                                                       Tel: (516) 268-7080
                                                       spencer@spencersheehan.com




                                                15
